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 1                             UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3 Richard W. Peters,                               Case No.: 2:18-cv-893-APG-NJK

 4                        Plaintiff,                  Order Dismissing Defendant Brian Ward
                                                                  from the Case
 5 v.

 6 Isidro Baca, et al.,

 7                        Defendants.

 8         On September 22, 2020, plaintiff Richard Peters was warned by the court that this action

 9 would be dismissed as to defendant Brian Ward unless by October 22, 2020, Peters filed proper

10 proof of service upon Ward or showed good cause why such service was not timely made. ECF

11 No. 26. Peters has failed to file proof of service nor shown good cause why service was not

12 made. Nor has Peters shown cause why this action should not be dismissed without prejudice as

13 to Ward under Federal Rule of Civil Procedure 4(m).

14         I THEREFORE ORDER that this case is DISMISSED without prejudice only as to

15 defendant Brian Ward.

16         DATED this 26th day of October, 2020.

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                                                       ANDREW P. GORDON
                                                       UNITED STATES DISTRICT JUDGE
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